 8:19-cr-00181-DCC          Date Filed 04/04/19       Entry Number 230         Page 1 of 1




                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA

United States of America                       )
                                               )        Case NO. 8:19-cr-00181-DCC
                                               )
                    vs.                        )
                                               )     Memorandum in Opposition to
                                               )   Government’s Motion to Disclose Tax
Shequita Latoya Holloway                       )    Shequita Holloway’s Tax Returns
                                               )
                                               )
                                               )

       Shequita Holloway opposes the Government’s motion to disclose her tax returns

to the other parties in this case. (ECF No. 218). Court 7 of the indictment (ECF No. 41)

alleges Ms. Holloway possessed a detectable amount of cocaine.               Count 8 of the

indictment alleges Ms. Holloway made a false statement to federal law enforcement

agent. None of the other counts in the indictment pertain to Ms. Holloway. This Court

should require the Government to establish relevance of Ms. Holloway’s tax returns to

the allegations in the indictment before releasing those to the other parties to this case.

                                               Respectfully Submitted,

                                               s/ E. Charles Grose, Jr.
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April 4, 2019
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